Case 2:17-cr-00127-JLR   Document 57   Filed 10/10/17   Page 1 of 7
Case 2:17-cr-00127-JLR   Document 57   Filed 10/10/17   Page 2 of 7
Case 2:17-cr-00127-JLR   Document 57   Filed 10/10/17   Page 3 of 7
Case 2:17-cr-00127-JLR   Document 57   Filed 10/10/17   Page 4 of 7
Case 2:17-cr-00127-JLR   Document 57   Filed 10/10/17   Page 5 of 7
Case 2:17-cr-00127-JLR   Document 57   Filed 10/10/17   Page 6 of 7
Case 2:17-cr-00127-JLR   Document 57   Filed 10/10/17   Page 7 of 7
